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13
                      IN THE UNITED STATES BANKRUPTCY COURT
14
15                               FOR THE DISTRICT OF ARIZONA

16   In re                                         Chapter 7
17
     BRIAN HANKS                                   Case No. 4:18-bk-09801-SHG
18
                          Debtor
19   SUSAN O’SHEA, an unmarried woman
20                        Plaintiff,               Adv. No.

21   vs.                                       COMPLAINT TO DETERMINE DEBT
                                                     NON-DISCHARGEABLE
22
     BRIAN HANKS and unmarried man,                     UNDER 11 U.S.C. §§
23                                              523(a)(2)(A), 523(a)(4), and 523(a)(6)
                                 Defendant.
24
25
                                                               Assigned to:
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 1          Plaintiff SUSAN O’SHEA (“O’Shea” or “Plaintiff”) for her complaint against
 2   defendant BRIAN HANKS (“Hanks” OR “Defendant”) alleges as follows:
 3                          PARTIES, JURISDICTION, AND VENUE
 4          1.     This is an adversary proceeding pursuant to 11 U.S.C. § 523 to determine a
 5   debt to be non-dischargeability. This adversary is commenced pursuant to Rules 7001(6) of
 6   the Federal Rules of Bankruptcy Procedures (“FRBP”).
 7          2.     This Court has jurisdiction to hear this adversary proceeding as a core
 8   proceeding under 28 U.S.C. §§ 157(b)(2)(I), 157(b)(2)(J), 1334(a) and 1334(b).
 9          3.     On or about August 14, 2018 (“Petition Date”), BRIAN HANKS (the
10   “Debtor” or “Hanks”) filed a voluntary petition for relief under Chapter 7 in the United
11   States Bankruptcy Court for the District of Arizona.
12          4.     The judicial district is the proper venue for this adversary proceeding under 28
13   U.S.C. § 1409(a), as this adversary proceeding arises under, and is in connection with, the
14   Bankruptcy Case, which currently pending before this Court in this judicial district.
15          5.     Defendant is an unmarried man and a resident of Pima County, Arizona, and
16   the Debtor in the above captioned Chapter 7 Case.
17          6.     All events giving rise to this Complaint occurred in Pima County, Arizona.
18          7.     The Court has jurisdiction over the subject of this Complaint and the parties.
19   Venue is proper.
20                                  GENERAL ALLEGATIONS
21          8.     O’Shea’s daughter, Carolyn O’Shea Meyer, has been diagnosed with Complex
22   Regional Pain Disorder and Multiple Sclerosis.
23          9.     O’Shea has undertaken various attempts to raise funds for treatments for her
24   daughter, including a go-fund-me campaign. After the go-fund me campaign, an
25   acquaintance name Jay Renteria informed O’Shea that he would invest money Hanks at Jans
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 1   Jobes and associates. Renteria suggested that O’Shea contact Hanks and Jans Jobes as a
 2   way to raise money for her daughter.
 3         10.      Hanks was informed that O’Shea desperately needed to raise money for her
 4   daughter’s medical care.
 5         11.      On June 1, 2016, O’Shea invested $50,000 with Jans Jobes pursuant to an
 6   agreement signed by Hanks, that provided for 25% return, to be paid in two installments of
 7   $33,250 to be paid on November 10, 2016 and December 19, 2016.
 8         12.      Defendants promptly paid O’Shea in accordance with the June 1, 2016
 9   agreement.
10         13.      On December 1, 2016 Hanks’ sent an email addressed to O’Shea in which he
11   made the following representations:
12               a. His company was Jans Jobes and Associates, and that his partners are his
13                  fiancé Elisa Bonin and his brother Captain Robert Hanks of the North Las
14                  Vegas Police department.
15               b. That he and his partners were aware of “your daughters condition and the fact
16                  that your money means her medical care and future, rest assured not taken
17                  lightly.”
18               c. That his partners, “along with my attorney are aware of each and every
19                  investment that we are involved in.”
20               d. “I have currently over 2.2 Million in dealings and plan to increase that to 8
21                  million over the next 3 years.”
22               e. During the 15 years I have handled investments for friends and family, not
23                  once have any of my investors lost a dime.
24               f. “My dealings with FEMI and my private business interest allow me to offer
25                  people like yourself opportunities that are rare to invest.”
26         14.      The representations in sub paragraphs c, d, e, and f, were false.

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 1          15.      Hanks knew these representations were false.
 2          16.      Hanks made these representations to induce O’Shea to make a second
 3   investment with him.
 4          17.      In December 2016, Hanks signed an agreement under which O’Shea invested
 5   $65,000 (the principal and interest earned on the first investment) with Jans Jobes
 6   (“Investment Agreement”). The agreement promises 33% interest on the investment, with
 7   payments of $43,000 to be made on March 1, 2017 and June 1, 2017. The Agreement
 8   further provided that the payments were “each with options to roll over any/all amounts at
 9   the request of Susan O’Shea investor.” A true and correct copy of the Agreement is attached
10   to this Complaint as Exhibit A.
11          18.      O’Shea informed Hanks that she did not want to roll over the March 1, 2017
12   payment by email.
13          19.      Hanks, stated that Jans Jobes could not pay at that time because it was in the
14   middle of an audit. Hanks stated that when the audit was finished, around the end of April
15   2017, he would pay every penny promised.
16          20.      The representation that Jans Jobes was being audited was false.
17          21.      Hanks made numerous other false representations in order to try to convince
18   O’Shea to forbear from enforcing the Investment Agreement
19          22.      Subsequently, Hanks demanded a change in the payment terms of the
20   Investment Agreement under which he would repay the investment in $10,000 monthly
21   installments.
22          23.      On April 20, 2017 Jans Jobes in fact paid a $10,000 installment.
23          24.      Subsequently Jans Jobes paid an additional $5,000 to O’Shea.
24          25.      Hanks and Jans Jobes have failed to make any additional payments on the
25   Investment Agreement.
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 1                                                Count I
 2                         Non-Dischargeable for Fraud 11 U.S.C. §523(a)(2)
 3          26.      O’Shea incorporates each and every paragraph in this Complaint into this
 4   Count as if fully set forth herein.
 5          27.      On December 1, 2016 Hanks’ sent an email addressed to O’Shea in which he
 6   made the following representations:
 7                a. His company was Jans Jobes and Associates, and that his partners are his
 8                   fiancé Elisa Bonin and his brother Captain Robert Hanks of the North Las
 9                   Vegas Police department.
10                b. That he and his partners were aware of “your daughters condition and the fact
11                   that your money means her medical care and future, rest assured not taken
12                   lightly.”
13                c. That his partners, “along with my attorney are aware of each and every
14                   investment that we are involved in.”
15                d. “I have currently over 2.2 Million in dealings and plan to increase that to 8
16                   million over the next 3 years.”
17                e. During the 15 years I have handled investments for friends and family, not
18                   once have any of my investors lost a dime.
19                f. “my dealings with FEMI and my private business interest allow me to offer
20                   people like yourself opportunities that are rare to invest.”
21          28.      The representations in subparagraphs c, d, e, and f were false.
22          29.      Hanks knew they were false.
23          30.      Hanks intended that O’Shea rely on these false representations.
24          31.      O’Shea in fact reasonably relied on Hanks’ false representations.
25          32.      O’Shea was damaged in an amount to be established at trial by Hanks
26   fraudulent representations.

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 1          33.    Consequently, and as a direct and legal result of Hanks' actual fraud, as
 2   alleged hereinabove, the resulting damages suffered by Plaintiff in the amount of their
 3   claims, should be excepted from discharge pursuant to 11 U.S.C. §523(a)(2)(A).
 4                                  SECOND CAUSE OF ACTION
 5        (Exception to Discharge for Defalcation While Acting in a Fiduciary Capacity,
 6                        Embezzlement or Larceny - 11 U.S.C. §523(a)(4)
 7          34.    O’Shea incorporates each and every paragraph in this Complaint into this
 8   Count as if fully set forth herein.
 9          35.    When O’Shea gave Hanks the $65,000 to invest, it created a de facto trust,
10   where Hanks was trustee, O’Shea a beneficiary, and an identifiable trust res of the $65,000
11   invested.
12          36.    Hank’s was acting as a fiduciary to O’Shea when the debt was created,
13   promising to use his special investment knowledge and skills.
14          37.    The debt created out of the investment is the result of fraud and defalcation.
15          38.    As a direct and legal consequence of the foregoing, the amounts Hanks
16   misappropriated while acting in his fiduciary capacity, and embezzled from Plaintiff should
17   be excepted from discharge pursuant to §523(a)(4).
18                                   THIRD CAUSE OF ACTION
19        (Exception to Discharge for Willful or Malicious Injury - 11 U.S.C. §523(a)(6)
20          39.    O’Shea incorporates each and every paragraph in this Complaint into this
21   Count as if fully set forth herein.
22          40.    At all times herein mentioned, Hanks willfully and maliciously converted
23   Plaintiff's money and property.
24          41.    Hanks conversion of Plaintiff’s property and monies was intentional and
25   deliberate, performed without justification or excuse.
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 1          42.    Hanks willfully and maliciously injured Plaintiff by converting their property
 2   and monies and the amount of the claims of the Plaintiff should be excepted from discharge
 3   pursuant to 11 U.S.C. §523(a)(6).
 4          WHEREFORE, O’Shea prays pray for judgment against the Defendant as follows:
 5          A.     Compensatory and punitive damages for the fraudulent misrepresentations,
 6   embezzlement as a fiduciary, and Hank’s willful and malicious injuries;
 7          B.     A determination that the damages are non-dischargeable under 11 U.S.C.
 8   §§523(a)(2),(4), and (6);
 9          C.     Attorney’s fees, costs, and taxable expenses as permitted by applicable law;
10   and,
11          D.     Such other relief the Court deems fit under the circumstances.
12   DATED: November 21, 2018.
                                             KASEY C. NYE, LAWYER, PLLC
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14
                                             By    /s/ Kasey C. Nye
15                                                 Kasey C. Nye
                                             Attorneys for Plaintiff SUSAN O’SHEA
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